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                                   8                                    UNITED STATES DISTRICT COURT

                                   9                                   NORTHERN DISTRICT OF CALIFORNIA

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                                         INNOVATION LAW LAB, et al.,
                                  11                                                          Case No. 19-cv-00807-RS
                                                         Plaintiffs,
                                  12
Northern District of California




                                                  v.
 United States District Court




                                                                                              ORDER GRANTING MOTION TO
                                  13                                                          STAY
                                         KIRSTJEN NIELSEN, et al.,
                                  14
                                                         Defendants.
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                                  16

                                  17          Defendants move to stay proceedings in this court pending resolution of their appeal of the

                                  18   preliminary injunction entered herein. Defendants suggest the ruling of Ninth Circuit’s motions

                                  19   panel ordering staying the injunction effectively is dispositive. Without adopting any of

                                  20   defendants’ specific contentions, judicial efficiency weighs against further proceedings in this

                                  21   forum until and unless an appellate ruling provides further guidance. Under the circumstances

                                  22   here, any concerns about delaying potential relief until issuance of an appellate ruling on the

                                  23   merits do not compel a different result.

                                  24          Although plaintiffs have identified some litigation activities they would pursue in the

                                  25   absence of a stay, they have not made a compelling showing of any undue prejudice that would

                                  26   result were a stay not granted. Accordingly, this case is stayed pending a ruling from the Court of

                                  27   Appeal on the merits of the injunction. Ninety days after the issuance of this order, and every

                                  28   ninety days thereafter, the parties shall file a joint statement regarding the status of the appeal.
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                                   1   IT IS SO ORDERED.

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                                   3   Dated: July 15, 2019

                                   4                                        ______________________________________
                                                                            RICHARD SEEBORG
                                   5                                        United States District Judge
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                                  12
Northern District of California
 United States District Court




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                                                                                                CASE NO.   19-cv-00807-RS
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